                                             Case
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                                             Attorneys for Sonoran Barbeque Nevada, LLC
                                         5
                                                                            UNITED STATES DISTRICT COURT
                                         6                                       DISTRICT OF NEVADA
                                         7   YESSICA ORTIZ,                                     CASE NO.: 2:20-CV-20-1816-APG-BNW
                                         8                     Plaintiff,                       STIPULATION FOR OPEN ENDED
                                                                                                EXTENSION FOR SONORAN
                                         9          v.                                          BARBEQUE NEVADA, LLC TO FILE
                                                                                                RESPONSIVE PLEADING
3993 Howard Hughes Parkway, Suite 600




                                        10   SONORAN BARBEQUE NEVADA, LLC,
                                             dba FAMOUS DAVE’S, BAR-B-QUE;
                                        11   BERTHA LOREA ZAPEDA, an individual;
                                             and DOES 1 to 50, inclusive,
                                        12
                                                               Defendant.
Las Vegas, NV 89169




                                        13

                                        14
                                                    Defendant SONORAN BARBEQUE NEVADA, LLC (“Defendant”), by and through its
                                        15
                                             counsel of record Ogonna M. Brown, Esq., of the law firm of Lewis Roca Rothgerber Christie
                                        16
                                             LLP, and Plaintiff YESSICA ORTIZ (“Plaintiff”), by and through her local counsel of record Lisa
                                        17
                                             A. Rasmussen, Esq., of the law firm of Kristina Wildeveld & Associates, and lead counsel Shervin
                                        18
                                             Lalezary, Esq. and Albert DiRocco, Esq. of the Lalezary Law Firm (collectively, the “Parties”),
                                        19   hereby enter into this Stipulation and Order for Open Ended Extension for Sonoran Barbeque
                                        20   Nevada, LLC to File a Responsive Pleading.
                                        21                                             RECITALS
                                        22          WHEREAS, on July 9, 2020, Plaintiff commenced the above-captioned litigation by filing
                                        23   her Complaint.

                                        24          WHEREAS, service upon Defendant of the Summons and Complaint was effectuated on

                                        25   September 8, 2020.

                                        26          WHEREAS, the deadline for Defendant to file its responsive pleading to the Complaint

                                        27   was September 29, 2020.

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                                         1           WHEREAS, a mediation concerning this litigation was scheduled for October 8, 2020,
                                         2   and the matter was successfully resolved at the conclusion of the mediation.

                                         3           THEREFORE, the Parties hereto agree and stipulate as follows:

                                         4          IT IS HEREBY STIPULATED that the deadline for Defendant to file its responsive

                                         5   pleading is hereby extended with an open-ended extension pending the filing of the dismissal of

                                         6   all parties, including Defendants, in the above-captioned case, which dismissal was agreed upon

                                         7   by the parties at the conclusion of the mediation that was scheduled on October 8, 2020.

                                         8          IT IS FURTHER STIPULATED that Defendant Sonoran Barbeque Nevada, LLC

                                         9   reserves the right to object to this Court’s jurisdiction, to assert defenses including, but not limited

                                             to, the statute of limitations, and to assert arguments that it is not the proper party in interest in the
3993 Howard Hughes Parkway, Suite 600




                                        10

                                        11   above-captioned litigation.

                                        12          IT IS SO STIPULATED AND AGREED.
Las Vegas, NV 89169




                                        13   DATED: October 13, 2020                                DATED: October 13, 2020.
                                        14   THE LAW FIRM OF KRISTINA                               LEWIS ROCA ROTHGERBER
                                             WILDEVELD & ASSOCIATES                                 CHRISTIE LLP
                                        15

                                        16                                                          /s/ Ogonna Brown        _____________
                                             /s/ Lisa Rasmussen                                     Ogonna M. Brown, Esq. (NBN 7589)
                                        17   Lisa A. Rasmussen, Esq. (NBN 7491)                     3993 Howard Hughes Parkway, Suite 600
                                             Kristina Wildeveld, Esq. (NBN 5825)                    Las Vegas, NV 89169
                                        18   550 E. Charleston Blvd., Suite A                       Email: obrown@lrrc.com
                                             Las Vegas, NV 89104                                    Attorneys for Defendant
                                        19   E-Mail: Lisa@veldlaw.com                               Sonoran Barbeque, LLC
                                        20   E-Mail: Kristina@veldlaw.com
                                             Attorneys for Plaintiff Yessica Ortiz
                                        21

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                                         1                                                       ORDER
                                         2            Based upon the above stipulation, and good cause appearing,
                                             IT IS HEREBY ORDERED that the stipulation is GRANTED in part and DENIED in part.
                                         3            IT IS HEREBY ORDERED that this Stipulation is hereby GRANTED.
                                             IT IS FURTHER ORDERED that the Court declines to allow an indefinite extension of the
                                         4          IT IS FURTHER ORDERED that the deadline for Defendant to file its responsive
                                             time to respond to plaintiff's complaint. Instead, defendant Sonoran Barbeque, LLC has until
                                         5   November
                                             pleading   is 15, 2020,
                                                           hereby    to respond
                                                                  extended  withtoanplaintiff's
                                                                                      open-endedcomplaint  if this
                                                                                                    extension      matterthe
                                                                                                                pending   is not  dismissed
                                                                                                                              filing          by that of
                                                                                                                                      of the dismissal
                                             time. Given that the parties resolved this matter at mediation, the Court is happy to consider a
                                         6   all parties, including
                                             subsequent    extension.Defendants,
                                                                       The Court in  the above-captioned
                                                                                  encourages                  case,
                                                                                                 the parties to     which dismissal
                                                                                                                act promptly            was agreed upon
                                                                                                                               to file dismissal
                                             paperwork.
                                         7   by the parties at the conclusion of the mediation that was scheduled on October 8, 2020.
                                         8    IT IS IT
                                                     FURTHER
                                                          IS FURTHER ORDEREDORDEREDthat Defendant    Sonoran
                                                                                           that Defendant        Barbeque
                                                                                                               Sonoran      Nevada,Nevada,
                                                                                                                        Barbeque     LLC reserves
                                                                                                                                             LLC reserves
                                              the right to object to this Court's jurisdiction, to assert defenses including, but not limited to, the
                                         9   the  rightoftolimitations,
                                              statute        object to this
                                                                        andCourt’s
                                                                            to assertjurisdiction,
                                                                                       arguments tothatassert  defenses
                                                                                                         it is not       including,
                                                                                                                   the proper party but not limited
                                                                                                                                    in interest in theto, the
                                              above-captioned litigation.
3993 Howard Hughes Parkway, Suite 600




                                        10   statute of limitations, and to assert arguments that it is not the proper party in interest in the above-
                                                                                                       IT IS SO ORDERED
                                        11   captioned litigation.
                                                                                                       DATED: 3:16 pm, October 16, 2020
                                        12            IT IS SO ORDERED.
Las Vegas, NV 89169




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                                        14                                                      _____________________________________
                                                                                                   BRENDA WEKSLER
                                                                                                JUDGE  ANDREW
                                                                                                   UNITED        P. GORDON
                                                                                                            STATES   MAGISTRATE JUDGE
                                        15                                                      UNITED STATES DISTRICT COURT JUDGE

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